                Case 05-10740-whd                         Doc 1          Filed 03/01/05 Entered 03/01/05 08:10:16                                     Desc Main
(Official Form 1) (12/03)                                                Document     Page 1 of 25
FORM B1                               United States Bankruptcy Court
                                                 Northern District of Georgia
                                                                                                                                               Voluntary Petition
         {
         k
         b
         }
         n
         o
         i
         t
         e
         P
         y
         r
         a
         t
         n
         u
         l
         o
         V
         .1
          m
          r
          o
          F
          {
          k
          b
          }




Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
 Hunter, Christopher Lee


All Other Names used by the Debtor in the last 6 years                                         All Other Names used by the Joint Debtor in the last 6 years
(include married, maiden, and trade names):                                                    (include married, maiden, and trade names):




Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No.                         Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No.
(if more than one, state all):                                                                 (if more than one, state all):
                      xxx-xx-0612
Street Address of Debtor (No. & Street, City, State & Zip Code):                               Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
  1287 Wagers Mill Road
  Newnan, GA 30263


County of Residence or of the                                                                  County of Residence or of the
Principal Place of Business:              Coweta                                               Principal Place of Business:
Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):




Location of Principal Assets of Business Debtor
(if different from street address above):


                                                   Information Regarding the Debtor (Check the Applicable Boxes)
Venue (Check any applicable box)
    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
    preceding the date of this petition or for a longer part of such 180 days than in any other District.
       There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                Type of Debtor (Check all boxes that apply)                                             Chapter or Section of Bankruptcy Code Under Which
       Individual(s)                         Railroad                                                             the Petition is Filed (Check one box)
       Corporation                           Stockbroker                                              Chapter 7                   Chapter 11          Chapter 13
       Partnership                           Commodity Broker                                         Chapter 9                   Chapter 12
       Other                                 Clearing Bank                                            Sec. 304 - Case ancillary to foreign proceeding
                   Nature of Debts (Check one box)                                                                        Filing Fee (Check one box)
       Consumer/Non-Business               Business                                                   Full Filing Fee attached
                                                                                                      Filing Fee to be paid in installments (Applicable to individuals only.)
         Chapter 11 Small Business (Check all boxes that apply)                                       Must attach signed application for the court's consideration
       Debtor is a small business as defined in 11 U.S.C. § 101                                       certifying that the debtor is unable to pay fee except in installments.
       Debtor is and elects to be considered a small business under                                   Rule 1006(b). See Official Form No. 3.
       11 U.S.C. § 1121(e) (Optional)
Statistical/Administrative Information (Estimates only)                                                                                        THIS SPACE IS FOR COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
     Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there
     will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors                      1-15          16-49       50-99   100-199       200-999      1000-over



Estimated Assets
     $0 to            $50,001 to   $100,001 to     $500,001 to       $1,000,001 to   $10,000,001 to       $50,000,001 to        More than
     $50,000          $100,000     $500,000        $1 million        $10 million     $50 million          $100 million          $100 million



Estimated Debts
     $0 to            $50,001 to   $100,001 to     $500,001 to       $1,000,001 to   $10,000,001 to       $50,000,001 to        More than
     $50,000          $100,000     $500,000        $1 million        $10 million     $50 million          $100 million          $100 million
            Case
(Official Form      05-10740-whd
               1) (12/03)                      Doc 1       Filed 03/01/05 Entered 03/01/05 08:10:16                            Desc Main
Voluntary Petition                                         Document NamePage  2 of 25
                                                                           of Debtor(s):                                           FORM B1, Page 2
(This page must be completed and filed in every case)                          Hunter, Christopher Lee

                              Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
Location                                                                Case Number:                          Date Filed:
Where Filed: - None -
         Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                    Case Number:                          Date Filed:
- None -
District:                                                                    Relationship:                         Judge:


                                                                       Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Exhibit A
I declare under penalty of perjury that the information provided in this     (To be completed if debtor is required to file periodic reports (e.g., forms
petition is true and correct.                                                10K and 10Q) with the Securities and Exchange Commission pursuant to
[If petitioner is an individual whose debts are primarily consumer debts     Section 13 or 15(d) of the Securities Exchange Act of 1934 and is
and has chosen to file under chapter 7] I am aware that I may proceed        requesting relief under chapter 11)
under chapter 7, 11, 12, or 13 of title 11, United States Code, understand         Exhibit A is attached and made a part of this petition.
the relief available under each such chapter, and choose to proceed under
chapter 7.                                                                                                       Exhibit B
I request relief in accordance with the chapter of title 11, United States                     (To be completed if debtor is an individual
Code, specified in this petition.                                                              whose debts are primarily consumer debts)
                                                                             I, the attorney for the petitioner named in the foregoing petition, declare
                                                                             that I have informed the petitioner that [he or she] may proceed under
 X       /s/ Christopher Lee Hunter
                                                                             chapter 7, 11, 12, or 13 of title 11, United States Code, and have
     Signature of Debtor Christopher Lee Hunter                              explained the relief available under each such chapter.

 X                                                                            X    /s/ Michael A. Gorove 302730                 March 1, 2005
     Signature of Joint Debtor                                                    Signature of Attorney for Debtor(s)          Date
                                                                                   Michael A. Gorove 302730
                                                                                                               Exhibit C
     Telephone Number (If not represented by attorney)                       Does the debtor own or have possession of any property that poses
        March 1, 2005                                                        a threat of imminent and identifiable harm to public health or
                                                                             safety?
     Date
                                                                                    Yes, and Exhibit C is attached and made a part of this petition.
                            Signature of Attorney                                   No
 X          /s/ Michael A. Gorove 302730
                                                                                              Signature of Non-Attorney Petition Preparer
     Signature of Attorney for Debtor(s)
                                                                             I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.
      Michael A. Gorove 302730                                               § 110, that I prepared this document for compensation, and that I have
     Printed Name of Attorney for Debtor(s)                                  provided the debtor with a copy of this document.
      Harmon & Gorove
     Firm Name                                                                    Printed Name of Bankruptcy Petition Preparer
      1 Jefferson Street
      Newnan, GA 30263
                                                                                  Social Security Number (Required by 11 U.S.C.§ 110(c).)
     Address
      770-253-5902 Fax: 770-253-4009
     Telephone Number                                                             Address
      March 1, 2005
     Date                                                                         Names and Social Security numbers of all other individuals who
                                                                                  prepared or assisted in preparing this document:
               Signature of Debtor (Corporation/Partnership)
I declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this
petition on behalf of the debtor.
The debtor requests relief in accordance with the chapter of title 11,            If more than one person prepared this document, attach additional
United States Code, specified in this petition.                                   sheets conforming to the appropriate official form for each person.

 X                                                                            X
     Signature of Authorized Individual                                           Signature of Bankruptcy Petition Preparer


     Printed Name of Authorized Individual                                        Date

                                                                                  A bankruptcy petition preparer's failure to comply with the
     Title of Authorized Individual                                               provisions of title 11 and the Federal Rules of Bankruptcy
                                                                                  Procedure may result in fines or imprisonment or both. 11
                                                                                  U.S.C. § 110; 18 U.S.C. § 156.
     Date
                     Case 05-10740-whd                               Doc 1            Filed 03/01/05 Entered 03/01/05 08:10:16          Desc Main
Form 7                                                                                Document     Page 3 of 25
(12/03)
                                                                        United States Bankruptcy Court
                                                                                Northern District of Georgia
  In re       Christopher Lee Hunter                                                                              Case No.
                                                                                              Debtor(s)           Chap ter   13


                                                                STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint p etition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the sp ouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs.

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the
answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the
question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is
"in business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole prop rietor or self-employed.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                                     __________________________________________

                 1. Income from employment or operation of business
    None         State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
      o          business from the beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                 two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal
                 rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint
                 petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of
                 both spouses whether or not a joint petition is filed, unless the sp ouses are separated and a joint petition is not filed.)

                             AM OUNT                                      SOURCE (if more than one)
                             $5,760.00                                    2005 YTd -
                             $35,000.00                                   2004 -
                             $33,870.00                                   2003 -

                 2. Income other than from employment or operation of business
    None         State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
      n          during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
                 each sp ouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
                 petition is filed, unless the sp ouses are separated and a joint p etition is not filed.)

                             AM OUNT                                      SOURCE


Software Copyright (c) 1996-2003 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy
                     Case 05-10740-whd                               Doc 1            Filed 03/01/05 Entered 03/01/05 08:10:16                Desc Main
                                                                                      Document     Page 4 of 25
                                                                                                                                                                   2
                 3. Payments to creditors
    None         a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor,
      n          made within 90 days immediately preceding the commencement of this case. (M arried debtors filing under chapter 12 or chapter 13 must
                 include payments by either or both spouses whether or not a joint p etition is filed, unless the sp ouses are separated and a joint petition
                 is not filed.)

 NAM E AND ADDRESS                                                                            DATES OF                                        AM OUNT STILL
    OF CREDITOR                                                                              PAYM ENTS                      AM OUNT PAID         OWING

    None         b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who
      n          are or were insiders. (M arried debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
                 not a joint petition is filed, unless the sp ouses are separated and a joint p etition is not filed.)

 NAM E AND ADDRESS OF CREDITOR AND                                                                                                            AM OUNT STILL
       RELATIONSHIP TO DEBTOR                                                                DATE OF PAYM ENT               AM OUNT PAID         OWING

                 4. S uits and administrative proceedings, executions, garnishments and attachments
    None         a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
      n          this bankrup tcy case. (M arried debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
                 whether or not a joint p etition is filed, unless the sp ouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                                   COURT OR AGENCY              STATUS OR
 AND CASE NUM BER                                   NATURE OF PROCEEDING                           AND LOCATION                 DISPOSITION

    None         b. Describe all prop erty that has been attached, garnished or seized under any legal or equitable process within one year immediately
      n          preceding the commencement of this case. (M arried debtors filing under chapter 12 or chapter 13 must include information concerning
                 property of either or both sp ouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                 filed.)

 NAM E AND ADDRESS OF PERSON FOR WHOSE                                                                          DESCRIPTION AND VALUE OF
     BENEFIT PROPERTY WAS SEIZED                                                      DATE OF SEIZURE                  PROPERTY

                 5. Repossessions, foreclosures and returns
    None         List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
      n          returned to the seller, within one year immediately preceding the commencement of this case. (M arried debtors filing under chapter 12
                 or chapter 13 must include information concerning property of either or both spouses whether or not a joint p etition is filed, unless the
                 sp ouses are separated and a joint p etition is not filed.)

                                                                                 DATE OF REPOSSESSION,
 NAM E AND ADDRESS OF                                                             FORECLOSURE SALE,              DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                             TRANSFER OR RETURN                      PROPERTY

                 6. Assignments and receiverships
    None         a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
      n          this case. (M arried debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
                 joint p etition is filed, unless the sp ouses are separated and a joint p etition is not filed.)

                                                                             DATE OF
 NAM E AND ADDRESS OF ASSIGNEE                                               ASSIGNMENT                          TERM S OF ASSIGNM ENT OR SETTLEM ENT

    None         b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
      n          preceding the commencement of this case. (M arried debtors filing under chapter 12 or chapter 13 must include information concerning
                 property of either or both sp ouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                 filed.)

                                                                        NAM E AND LOCATION
 NAM E AND ADDRESS                                                           OF COURT                             DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                         CASE TITLE & NUM BER                      ORDER               PROPERTY


Software Copyright (c) 1996-2003 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                       Best Case Bankruptcy
                     Case 05-10740-whd                               Doc 1            Filed 03/01/05 Entered 03/01/05 08:10:16            Desc Main
                                                                                      Document     Page 5 of 25
                                                                                                                                                                 3
                 7. Gifts
    None         List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and
      n          usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating
                 less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both
                 sp ouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAM E AND ADDRESS OF                                                 RELATIONSHIP TO                                       DESCRIPTION AND
 PERSON OR ORGANIZATION                                                  DEBTOR, IF ANY                       DATE OF GIFT     VALUE OF GIFT

                 8. Losses
    None         List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
      n          since the commencement of this case. (M arried debtors filing under chapter 12 or chapter 13 must include losses by either or both
                 sp ouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                             DESCRIPTION OF CIRCUM STANCES AND, IF
 DESCRIPTION AND VALUE                                                                       LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                                BY INSURANCE, GIVE PARTICULARS        DATE OF LOSS

                 9. Payments related to debt counseling or bankruptcy
    None         List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
      o          concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
                 preceding the commencement of this case.

                                                                                          DATE OF PAYM ENT,                       AM OUNT OF M ONEY
 NAM E AND ADDRESS                                                                      NAM E OF PAYOR IF OTHER               OR DESCRIPTION AND VALUE
     OF PAYEE                                                                                THAN DEBTOR                             OF PROPERTY
 Harmon & Gorove                                                                                                             $194 court costs and $156 atty
 1 Jefferson Street                                                                                                          fees paid herein.
 Newnan, GA 30263

                 10. Other transfers
    None         List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
      n          transferred either absolutely or as security within one year immediately preceding the commencement of this case. (M arried debtors
                 filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
                 sp ouses are separated and a joint p etition is not filed.)

 NAM E AND ADDRESS OF TRANSFEREE,                                                                             DESCRIBE PROPERTY TRANSFERRED
      RELATIONSHIP TO DEBTOR                                                          DATE                           AND VALUE RECEIVED

                 11. Closed financial accounts
    None         List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
      n          otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
                 financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
                 cooperatives, associations, brokerage houses and other financial institutions. (M arried debtors filing under chapter 12 or chapter 13 must
                 include information concerning accounts or instruments held by or for either or both spouses whether or not a joint p etition is filed,
                 unless the sp ouses are separated and a joint petition is not filed.)

                                                                                              TYPE OF ACCOUNT, LAST FOUR
                                                                                              DIGITS OF ACCOUNT NUM BER,      AM OUNT AND DATE OF
 NAM E AND ADDRESS OF INSTITUTION                                                            AND AM OUNT OF FINAL BALANCE            SALE OR CLOSING


Software Copyright (c) 1996-2003 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                     Best Case Bankruptcy
                     Case 05-10740-whd                               Doc 1            Filed 03/01/05 Entered 03/01/05 08:10:16              Desc Main
                                                                                      Document     Page 6 of 25
                                                                                                                                                                   4
                 12. S afe deposit boxes
    None         List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
      n          immediately preceding the commencement of this case. (M arried debtors filing under chapter 12 or chapter 13 must include boxes or
                 depositories of either or both spouses whether or not a joint petition is filed, unless the sp ouses are separated and a joint petition is not
                 filed.)

                                                                   NAM ES AND ADDRESSES                     DESCRIPTION            DATE OF TRANSFER
 NAM E AND ADDRESS OF BANK                                         OF THOSE WITH ACCESS                     OF                      OR SURRENDER, IF
  OR OTHER DEPOSITORY                                              TO BOX OR DEPOSITORY                     CONTENTS                ANY

                 13. S etoffs
    None         List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
      n          commencement of this case. (M arried debtors filing under chapter 12 or chapter 13 must include information concerning either or both
                 sp ouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAM E AND ADDRESS OF CREDITOR                                                          DATE OF SETOFF                     AM OUNT OF SETOFF

                 14. Property held for another person
    None         List all property owned by another person that the debtor holds or controls.
      n
                                                                                        DESCRIPTION AND VALUE OF
 NAM E AND ADDRESS OF OWNER                                                                    PROPERTY                    LOCATION OF PROPERTY

                 15. Prior address of debtor
    None         If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor
      n          occupied during that p eriod and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
                 address of either spouse.

 ADDRESS                                                                                NAM E USED                         DATES OF OCCUPANCY

                 16. S pouses and Former Spouses
    None         If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
      n          Louisiana, Nevada, New M exico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period immediately preceding the
                 commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
                 the community prop erty state.

 NAM E

                 17. Environmental Information.

                 For the purpose of this question, the following definitions apply:

                 "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or
                 toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
                 statutes or regulations regulating the cleanup of these substances, wastes, or material.

                        "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                        owned or operated by the debtor, including, but not limited to, disp osal sites.

                        "Hazardous M aterial" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                        pollutant, or contaminant or similar term under an Environmental Law


Software Copyright (c) 1996-2003 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                       Best Case Bankruptcy
                     Case 05-10740-whd                               Doc 1            Filed 03/01/05 Entered 03/01/05 08:10:16              Desc Main
                                                                                      Document     Page 7 of 25
                                                                                                                                                                    5
    None         a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
      n          or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
                 the Environmental Law:

                                                                   NAM E AND ADDRESS OF                   DATE OF                  ENVIRONM ENTAL
 SITE NAM E AND ADDRESS                                            GOVERNM ENTAL UNIT                     NOTICE                   LAW

    None         b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
      n          M aterial. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                                   NAM E AND ADDRESS OF                   DATE OF                  ENVIRONM ENTAL
 SITE NAM E AND ADDRESS                                            GOVERNM ENTAL UNIT                     NOTICE                   LAW

    None         c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the
      n          debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket
                 number.

 NAM E AND ADDRESS OF
 GOVERNM ENTAL UNIT                                                                     DOCKET NUM BER                     STATUS OR DISPOSITION

                 18 . Nature, location and name of business
    None         a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
      n          ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partnership,
                 sole proprietorship, or was a self-employed professional within the six years immediately preceding the commencement of this case, or
                 in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately preceding the
                 commencement of this case.
                            If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                       beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity
                       securities, within the six years immediately preceding the commencement of this case.
                            If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                       beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity
                       securities within the six years immediately preceding the commencement of this case.

                                           TAXPAYER                                                                            BEGINNING AND ENDING
 NAM E                                     I.D. NO. (EIN)               ADDRESS                    NATURE OF BUSINESS          DATES

    None         b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
      n
 NAM E                                                                                ADDRESS


     The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within the six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor or otherwise self-employed.

      (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
the six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to
the signature page.)

                 19. Books, records and financial statements
    None         a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or
      n          supervised the keeping of books of account and records of the debtor.

 NAM E AND ADDRESS                                                                                              DATES SERVICES RENDERED


Software Copyright (c) 1996-2003 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                        Best Case Bankruptcy
                     Case 05-10740-whd                               Doc 1            Filed 03/01/05 Entered 03/01/05 08:10:16             Desc Main
                                                                                      Document     Page 8 of 25
                                                                                                                                                                   6
    None         b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
      n          of account and records, or prepared a financial statement of the debtor.

 NAM E                                                      ADDRESS                                               DATES SERVICES RENDERED

    None         c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
      n          of the debtor. If any of the books of account and records are not available, explain.

 NAM E                                                                                               ADDRESS

    None         d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
      n          issued within the two years immediately preceding the commencement of this case by the debtor.

 NAM E AND ADDRESS                                                                                         DATE ISSUED

                 20. Inventories
    None         a. List the dates of the last two inventories taken of your property, the name of the person who sup ervised the taking of each inventory,
      n          and the dollar amount and basis of each inventory.

                                                                                                                  DOLLAR AM OUNT OF INVENTORY
 DATE OF INVENTORY                                         INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

    None         b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
      n
                                                                                              NAM E AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                            RECORDS

                 21 . Current Partners, Officers, Directors and Shareholders
    None         a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
      n
 NAM E AND ADDRESS                                                                    NATURE OF INTEREST                   PERCENTAGE OF INTEREST

    None         b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
      n          controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                  NATURE AND PERCENTAGE
 NAM E AND ADDRESS                                                                    TITLE                       OF STOCK OWNERSHIP

                 22 . Former partners, officers, directors and shareholders
    None         a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
      n          commencement of this case.

 NAM E                                                                  ADDRESS                                           DATE OF WITHDRAWAL

    None         b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
      n          immediately preceding the commencement of this case.

 NAM E AND ADDRESS                                                                    TITLE                       DATE OF TERM INATION




Software Copyright (c) 1996-2003 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                       Best Case Bankruptcy
                     Case 05-10740-whd                               Doc 1            Filed 03/01/05 Entered 03/01/05 08:10:16            Desc Main
                                                                                      Document     Page 9 of 25
                                                                                                                                                                  7
                 23 . Withdrawals from a partnership or distributions by a corporation
    None         If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
      n          in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
                 commencement of this case.

 NAM E & ADDRESS                                                                                                               AM OUNT OF M ONEY
 OF RECIPIENT,                                                                        DATE AND PURPOSE                         OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                               OF WITHDRAWAL                            VALUE OF PROPERTY

                 24. Tax Consolidation Group.
    None         If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corp oration of any consolidated
      n          group for tax purposes of which the debtor has been a member at any time within the six-year period immediately preceding the
                 commencement of the case.

 NAM E OF PARENT CORPORATION                                                                                            TAXPAYER IDENTIFICATION NUM BER

                 25. Pension Funds.
    None         If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
      n          employer, has been resp onsible for contributing at any time within the six-year period immediately preceding the commencement of the
                 case.

 NAM E OF PENSION FUND                                                                                                  TAXPAYER IDENTIFICATION NUM BER


                                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date March 1, 2005                                                                   Signature   /s/ Christopher Lee Hunter
                                                                                                  Christopher Lee Hunter
                                                                                                  Debtor
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




Software Copyright (c) 1996-2003 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                      Best Case Bankruptcy
                  Case 05-10740-whd                            Doc 1           Filed 03/01/05 Entered 03/01/05 08:10:16                    Desc Main
                                                                              Document      Page 10 of 25

           {
           k
           b
           }
           y
           t
           r
           e
           p
           o
           P
           l
           a
           e
           R
           .
           A
           l
           ud
            e
            h
            c
            S
            {
            1
            k
            b
            }




   In re          Christopher Lee Hunter                                                                                Case No.
                                                                                                               ,
                                                                                                 Debtor

                                                                     SCHEDULE A. REAL PROPERTY
       Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
 cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
 the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
 labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."
       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired
 Leases.
       If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. (See Schedule D.) If no entity
 claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."
       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
 Claimed as Exempt.


                                                                                                               Husband, Current Market Value of
                                                                                                                          Debtor's Interest in
                  Description and Location of Property                                 Nature of Debtor's       Wife,      Property, without             Amount of
                                                                                       Interest in Property     Joint, or                               Secured Claim
                                                                                                              Community Deducting  any Secured
                                                                                                                          Claim or Exemption

Residence                                                                              Fee Simple                   J              155,000.00                 150,000.00
1287 Wagers Mill Road
Newnan, GA 30263




                                                                                                               Sub-Total >         155,000.00           (Total of this page)

                                                                                                                    Total >        155,000.00
   0      continuation sheets attached to the Schedule of Real Property                                        (Report also on Summary of Schedules)
 Copyright (c) 1996-2004 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                   Best Case Bankruptcy
                 Case 05-10740-whd                            Doc 1           Filed 03/01/05 Entered 03/01/05 08:10:16                            Desc Main
                                                                             Document      Page 11 of 25

          {
          k
          b
          }
          y
          t
          r
          e
          p
          o
          P
          l
          a
          n
          s
          r
          e
          P
          .
          Bl
           u
           d
           e
           h
           c
           S
           {
           1
           k
           b
           }




  In re          Christopher Lee Hunter                                                                                       Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                              SCHEDULE B. PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

      Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

     If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
                                                              N                                                                      Husband,    Current Market Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

1.      Cash on hand                                          X

2.      Checking, savings or other financial                      Net Bank Checking                                                      -                         100.00
        accounts, certificates of deposit, or
        shares in banks, savings and loan,
        thrift, building and loan, and
        homestead associations, or credit
        unions, brokerage houses, or
        cooperatives.

3.      Security deposits with public                         X
        utilities, telephone companies,
        landlords, and others.

4.      Household goods and furnishings,                          Household items                                                        -                       3,300.00
        including audio, video, and
        computer equipment.

5.      Books, pictures and other art                         X
        objects, antiques, stamp, coin,
        record, tape, compact disc, and
        other collections or collectibles.

6.      Wearing apparel.                                          Clothing                                                               -                         200.00

7.      Furs and jewelry.                                         Jewelry                                                                -                         200.00

8.      Firearms and sports, photographic,                    X
        and other hobby equipment.

9.      Interests in insurance policies.                      X
        Name insurance company of each
        policy and itemize surrender or
        refund value of each.




                                                                                                                                         Sub-Total >           3,800.00
                                                                                                                             (Total of this page)

  2      continuation sheets attached to the Schedule of Personal Property

Copyright (c) 1996-2004 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                        Best Case Bankruptcy
                 Case 05-10740-whd                            Doc 1           Filed 03/01/05 Entered 03/01/05 08:10:16                            Desc Main
                                                                             Document      Page 12 of 25




  In re          Christopher Lee Hunter                                                                                       Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                              SCHEDULE B. PERSONAL PROPERTY
                                                                       (Continuation Sheet)
                                                              N                                                                      Husband,    Current Market Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

10. Annuities. Itemize and name each                          X
    issuer.

11. Interests in IRA, ERISA, Keogh, or                        X
    other pension or profit sharing
    plans. Itemize.

12. Stock and interests in incorporated                       X
    and unincorporated businesses.
    Itemize.

13. Interests in partnerships or joint                        X
    ventures. Itemize.

14. Government and corporate bonds                            X
    and other negotiable and
    nonnegotiable instruments.

15. Accounts receivable.                                      X

16. Alimony, maintenance, support, and                        X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

17. Other liquidated debts owing debtor                       X
    including tax refunds. Give
    particulars.

18. Equitable or future interests, life                       X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule of Real Property.

19. Contingent and noncontingent                              X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                                         Sub-Total >                 0.00
                                                                                                                             (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

Copyright (c) 1996-2004 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                        Best Case Bankruptcy
                 Case 05-10740-whd                            Doc 1           Filed 03/01/05 Entered 03/01/05 08:10:16                             Desc Main
                                                                             Document      Page 13 of 25




  In re          Christopher Lee Hunter                                                                                       Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                              SCHEDULE B. PERSONAL PROPERTY
                                                                       (Continuation Sheet)
                                                              N                                                                      Husband,    Current Market Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

20. Other contingent and unliquidated                         X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

21. Patents, copyrights, and other                            X
    intellectual property. Give
    particulars.

22. Licenses, franchises, and other                           X
    general intangibles. Give
    particulars.

23. Automobiles, trucks, trailers, and                            1991 Chevy 1500 P/U                                                     -                       3,000.00
    other vehicles and accessories.

24. Boats, motors, and accessories.                           X

25. Aircraft and accessories.                                 X

26. Office equipment, furnishings, and                        X
    supplies.

27. Machinery, fixtures, equipment, and                       X
    supplies used in business.

28. Inventory.                                                X

29. Animals.                                                  X

30. Crops - growing or harvested. Give                        X
    particulars.

31. Farming equipment and                                     X
    implements.

32. Farm supplies, chemicals, and feed.                       X

33. Other personal property of any kind                       X
    not already listed.




                                                                                                                                         Sub-Total >            3,000.00
                                                                                                                             (Total of this page)
                                                                                                                                              Total >           6,800.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                                     (Report also on Summary of Schedules)
Copyright (c) 1996-2004 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
                  Case 05-10740-whd                            Doc 1           Filed 03/01/05 Entered 03/01/05 08:10:16                   Desc Main
                                                                              Document      Page 14 of 25

           {
           k
           b
           }
           t
           p
           m
           e
           x
           E
           s
           a
           d
           e
           m
           i
           l
           C
           y
           tr
            e
            p
            o
            P
            .
            C
            e
            l
            u
            d
            h
            c
            S
            {
            1
            k
            b
            }




   In re          Christopher Lee Hunter                                                                            Case No.
                                                                                                               ,
                                                                                               Debtor

                                                   SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
 Debtor elects the exemptions to which debtor is entitled under:
 [Check one box]
    11 U.S.C. §522(b)(1): Exemptions provided in 11 U.S.C. §522(d). Note: These exemptions are available only in certain states.
    11 U.S.C. §522(b)(2): Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has
                             been located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day
                             period than in any other place, and the debtor's interest as a tenant by the entirety or joint tenant to the extent the interest
                             is exempt from process under applicable nonbankruptcy law.

                                                                                       Specify Law Providing            Value of          Current Market Value of
                    Description of Property                                               Each Exemption                Claimed              Property Without
                                                                                                                       Exemption           Deducting Exemption
Real Property
Residence                                                                         Ga. Code Ann. § 44-13-100(a)(1)          10,000.00                155,000.00
1287 Wagers Mill Road
Newnan, GA 30263

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Net Bank Checking                                 Ga. Code Ann. § 44-13-100(a)(6)                                               100.00                    100.00

Household Goods and Furnishings
Household items                                                                   Ga. Code Ann. § 44-13-100(a)(4)              3,300.00                 3,300.00

Wearing Apparel
Clothing                                                                          Ga. Code Ann. § 44-13-100(a)(6)               200.00                    200.00

Furs and Jewelry
Jewelry                                                                           Ga. Code Ann. § 44-13-100(a)(5)               200.00                    200.00

Automobiles, Trucks, Trailers, and Other Vehicles
1991 Chevy 1500 P/U                                                               Ga. Code Ann. § 44-13-100(a)(3)              3,000.00                 3,000.00




    0      continuation sheets attached to Schedule of Property Claimed as Exempt
 Copyright (c) 1996-2004 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                             Best Case Bankruptcy
                  Case 05-10740-whd                           Doc 1           Filed 03/01/05 Entered 03/01/05 08:10:16                             Desc Main
                                                                             Document      Page 15 of 25
 Form B6D
 (12/03)


            {
            k
            b
            }
            s
            m
            i
            a
            l
            C
            d
            e
            r
            u
            c
            S
            g
            n
            i
            d
            lo
             H
             s
             r
             t
             i
             d
             e
             C
             .
             D
             l
             u
             d
             e
             h
             cS
              {
              1
              k
              b
              }




  In re           Christopher Lee Hunter                                                                                         Case No.
                                                                                                                    ,
                                                                                                     Debtor

                                         SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
      State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured by property
 of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
 and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
 garnishments, statutory liens, mortgages, deeds of trust, and other security interests. List creditors in alphabetical order to the extent practicable. If all
 secured creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
 the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community."
      If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
 columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME,                                   O                                                            O    N   I
                                                                D   H         DATE CLAIM WAS INCURRED,                       N    L   S        CLAIM
          AND MAILING ADDRESS                                   E                                                            T    I   P       WITHOUT        UNSECURED
           INCLUDING ZIP CODE,                                  B   W            NATURE OF LIEN, AND                         I    Q   U                      PORTION IF
                                                                T   J       DESCRIPTION AND MARKET VALUE                     N    U   T
                                                                                                                                             DEDUCTING
          AND ACCOUNT NUMBER                                    O                                                            G    I   E       VALUE OF          ANY
            (See instructions above.)
                                                                    C                 OF PROPERTY
                                                                R
                                                                                   SUBJECT TO LIEN
                                                                                                                             E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No.                                                             1st mortgage, 8000 arrears                                E
                                                                                                                                  D

Regions Mortgage                                                        Residence
6600 Peachtree Dunwoody Rd                                              1287 Wagers Mill Road
400 Embassy Rd, Ste 210                                                 Newnan, GA 30263
                                                               X -
Atlanta, GA 30328

                                                                         Value $                           155,000.00                         150,000.00                   0.00
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
                                                                                                                          Subtotal
 0
_____ continuation sheets attached                                                                                                            150,000.00
                                                                                                                 (Total of this page)
                                                                                                                             Total            150,000.00
                                                                                                   (Report on Summary of Schedules)

Copyright (c) 1996-2004 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                        Best Case Bankruptcy
                 Case 05-10740-whd                            Doc 1           Filed 03/01/05 Entered 03/01/05 08:10:16              Desc Main
                                                                             Document      Page 16 of 25
Form B6E
(04/04)


           {
           k
           b
           }
           s
           m
           i
           a
           l
           C
           y
           t
           r
           o
           i
           P
           d
           e
           r
           uc
            s
            n
            U
            g
            i
            d
            l
            o
            H
            s
            r
            t
            i
            d
            e
            C.
             E
             l
             u
             d
             e
             h
             c
             S
             {
             1
             k
             b
             }




  In re          Christopher Lee Hunter                                                                                  Case No.
                                                                                                                   ,
                                                                                                 Debtor

                          SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
     unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
     including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
     debtor, as of the date of the filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
     and the creditor and may be provided if the debtor chooses to do so.

          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
     on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them or
     the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".

         If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
     "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
     columns.)

          Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this Schedule E
     in the box labeled "Total" on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

           Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

           Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).

           Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
     independent sales representatives up to $4,925* per person earned within 90 days immediately preceding the filing of the original petition, or the
     cessation of business, which ever occurred first, to the extent provided in 11 U.S.C. § 507 (a)(3).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(5).

          Deposits by individuals
        Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(6).

          Alimony, Maintenance, or Support
          Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11 U.S.C. § 507(a)(7).

          Taxes and Certain Other Debts Owed to Governmental Units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C § 507(a)(8).

          Commitments to Maintain the Capital of an Insured Depository Institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).

    *Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
     adjustment.

                                                                                      0   continuation sheets attached
Copyright (c) 1996-2004 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                         Best Case Bankruptcy
                  Case 05-10740-whd                            Doc 1           Filed 03/01/05 Entered 03/01/05 08:10:16                                   Desc Main
                                                                              Document      Page 17 of 25
 Form B6F
 (12/03)


            {
            k
            b
            }
            s
            m
            i
            a
            l
            C
            y
            t
            r
            o
            i
            p
            n
            N
            de
             r
             u
             c
             s
             n
             U
             g
             i
             d
             l
             o
             H
             s
             r
             t
             i
             de
              C
              .
              F
              l
              u
              d
              e
              h
              c
              S
              {
              1
              k
              b
              }




   In re           Christopher Lee Hunter                                                                                         Case No.
                                                                                                                         ,
                                                                                                      Debtor


                      SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
 priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor
 has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. Do not include claims listed in
 Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
 the marital community maybe liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
      If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
 columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                               C   Husband, Wife, Joint, or Community                             C   U    D
                     CREDITOR'S NAME,                                          O                                                                  O   N    I
                  AND MAILING ADDRESS                                          D   H                                                              N   L    S
                   INCLUDING ZIP CODE,                                         E               DATE CLAIM WAS INCURRED AND                        T   I    P
                                                                                   W
                  AND ACCOUNT NUMBER
                                                                               B             CONSIDERATION FOR CLAIM. IF CLAIM                    I   Q    U
                                                                                                                                                               AMOUNT OF CLAIM
                                                                               T   J                                                              N   U    T
                                                                               O               IS SUBJECT TO SETOFF, SO STATE.                    G   I    E
                    (See instructions above.)                                  R
                                                                                   C
                                                                                                                                                  E   D    D
                                                                                                                                                  N   A
Account No.                                                                            medical                                                    T   T
                                                                                                                                                      E
                                                                                                                                                      D

Newnan Hospital
P.O. box 997                                                                       -
Newnan, GA 30264

                                                                                                                                                                                460.00
Account No.                                                                            medical

Papp Clinic
P.O. Box 609                                                                       -
Newnan, GA 30264

                                                                                                                                                                                  70.00
Account No.




Account No.




                                                                                                                                                Subtotal
 0
_____ continuation sheets attached                                                                                                                                              530.00
                                                                                                                                      (Total of this page)
                                                                                                                                                  Total
                                                                                                                        (Report on Summary of Schedules)                        530.00


 Copyright (c) 1996-2004 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                            S/N:26420-040929   Best Case Bankruptcy
                     Case 05-10740-whd                        Doc 1           Filed 03/01/05 Entered 03/01/05 08:10:16                 Desc Main
                                                                             Document      Page 18 of 25

           {
           k
           b
           }
           s
           e
           a
           L
           d
           r
           i
           p
           x
           e
           n
           U
           d
           as
            t
            c
            r
            n
            o
            C
            y
            t
            u
            c
            e
            x
            E
            .
            Gl
             u
             d
             e
             h
             c
             S
             {
             1
             k
             b
             }




  In re               Christopher Lee Hunter                                                                       Case No.
                                                                                                         ,
                                                                                         Debtor

                              SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                 Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                 State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
                 Provide the names and complete mailing addresses of all other parties to each lease or contract described.

                 NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled in the appropriate
                       schedule of creditors.

                   Check this box if debtor has no executory contracts or unexpired leases.
                                                                                          Description of Contract or Lease and Nature of Debtor's Interest.
                     Name and Mailing Address, Including Zip Code,                             State whether lease is for nonresidential real property.
                         of Other Parties to Lease or Contract                                   State contract number of any government contract.




       0           continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

Copyright (c) 1996-2004 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                              Best Case Bankruptcy
                    Case 05-10740-whd                         Doc 1           Filed 03/01/05 Entered 03/01/05 08:10:16             Desc Main
                                                                             Document      Page 19 of 25

           {
           k
           b
           }
           s
           r
           o
           t
           e
           d
           C
           .
           H
           e
           l
           u
           d
           h
           cS
            {
            1
            k
            b
            }




  In re              Christopher Lee Hunter                                                                  Case No.
                                                                                                     ,
                                                                                         Debtor

                                                                         SCHEDULE H. CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by
     debtor in the schedules of creditors. Include all guarantors and co-signers. In community property states, a married debtor not filing a joint case should
     report the name and address of the nondebtor spouse on this schedule. Include all names used by the nondebtor spouse during the six years
     immediately preceding the commencement of this case.

                Check this box if debtor has no codebtors.

                     NAME AND ADDRESS OF CODEBTOR                                           NAME AND ADDRESS OF CREDITOR

                     Christy Hunter                                                         Regions Mortgage
                     P.O. Box 2323                                                          6600 Peachtree Dunwoody Rd
                     Newnan, GA 30263                                                       400 Embassy Rd, Ste 210
                                                                                            Atlanta, GA 30328




       0          continuation sheets attached to Schedule of Codebtors

Copyright (c) 1996-2004 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                          Best Case Bankruptcy
                 Case 05-10740-whd                 Doc 1         Filed 03/01/05 Entered 03/01/05 08:10:16                                   Desc Main
                                                                Document      Page 20 of 25
Form B6I
(12/03)


           {
           k
           b
           }
           )
           s
           (
           r
           o
           t
           b
           e
           D
           l
           a
           u
           d
           i
           v
           n
           If
            o
            e
            m
            c
            n
            I
            t
            e
            r
            u
            C
            .
            I
            el
             u
             d
             h
             c
             S
             {
             1
             k
             b
             }




 In re           Christopher Lee Hunter                                                                               Case No.
                                                                                                          ,
                                                                                      Debtor

                             SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.
 Debtor's Marital Status:                                        DEPENDENTS OF DEBTOR AND SPOUSE
                               RELATIONSHIP                                                       AGE
                                      Son                                                                         11
                                      Son                                                                         3
    Single                            Daughter                                                                    7




  EMPLOYMENT:                                                  DEBTOR                                                               SPOUSE
  Occupation                   para med supervisor
  Name of Employer             Vital Care Transports
  How long employed            25 years
  Address of Employer          d/b/a Coweta County EMS
                               P.O. box 1831
                               Newnan, GA 30264

 INCOME: (Estimate of average monthly income)                                                                            DEBTOR                   SPOUSE
 Current monthly gross wages, salary, and commissions (pro rate if                        not paid monthly)       $          2,895.00         $         N/A
 Estimated monthly overtime . . . . . . . . . . . . . . . . . . . . . . . . . . .         ..........              $              0.00         $         N/A
 SUBTOTAL . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     ..........              $          2,895.00         $         N/A
     LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security . . . . . . . . . . . . . . . . . . .             ..........            $              740.00       $         N/A
     b. Insurance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     ..........            $                0.00       $         N/A
     c. Union dues . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      ..........            $                0.00       $         N/A
     d. Other (Specify)                                                                         ........          $                0.00       $         N/A
                                                                                                ........          $                0.00       $         N/A
      SUBTOTAL OF PAYROLL DEDUCTIONS . . . . . . . . . . . . . . . . . . . . . .                                  $              740.00       $         N/A
 TOTAL NET MONTHLY TAKE HOME PAY . . . . . . . . . . . . . . . . . . . . . . .                                    $              2,155.00     $         N/A
 Regular income from operation of business or profession or farm (attach detailed
 statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $                0.00       $         N/A
 Income from real property . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            $                0.00       $         N/A
 Interest and dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         $                0.00       $         N/A
 Alimony, maintenance or support payments payable to the debtor for the debtor's use
 or that of dependents listed above . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             $                0.00       $         N/A
 Social security or other government assistance
 (Specify)                                                                            .............               $                0.00       $         N/A
                                                                                      .............               $                0.00       $         N/A
 Pension or retirement income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             $                0.00       $         N/A
 Other monthly income
 (Specify) part-time work newnan hospital                                             .............               $              600.00   $            N/A
             rental of room in house                                                  .............               $              650.00   $            N/A
 TOTAL MONTHLY INCOME                                                                                             $              3,405.00 $            N/A
 TOTAL COMBINED MONTHLY INCOME                                       $           3,405.00                              (Report also on Summary of Schedules)
Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing
of this document:
                 Case 05-10740-whd                   Doc 1         Filed 03/01/05 Entered 03/01/05 08:10:16                                                 Desc Main
                                                                  Document      Page 21 of 25

        {
        k
        b
        }
        )
        s
        (
        r
        o
        t
        b
        e
        D
        l
        a
        u
        d
        i
        v
        n
        If
         o
         s
         e
         r
         u
         t
         i
         d
         n
         p
         x
         E
         t
         e
         r
         uC
          .
          J
          e
          l
          u
          d
          h
          c
          S
          {
          1
          k
          b
          }




In re            Christopher Lee Hunter                                                                                     Case No.
                                                                                                                ,
                                                                                         Debtor

                       SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any payments
  made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

              Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
              expenditures labeled "Spouse."

   Rent or home mortgage payment (include lot rented for mobile home) . . . . . . . . . . . . . . . . . . . . .                                 .. $             1,692.00
   Are real estate taxes included?                     Yes         X            No
   Is property insurance included?                     Yes         X            No
   Utilities: Electricity and heating fuel . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              .   .   $         235.00
              Water and sewer . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           .   .   $          45.00
              Telephone . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         .   .   $          62.00
              Other          cable                                                                                                ......        .   .   $          70.00
   Home maintenance (repairs and upkeep) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    .   .   $           0.00
   Food . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   .   .   $         550.00
   Clothing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   .   .   $          55.00
   Laundry and dry cleaning . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           .   .   $          26.00
   Medical and dental expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            .   .   $          50.00
   Transportation (not including car payments) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  .   .   $         260.00
   Recreation, clubs and entertainment, newspapers, magazines, etc. . . . . . . . . . . . . . . . . . . . . . . . . .                           .   .   $           0.00
   Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         .   .   $           0.00
   Insurance (not deducted from wages or included in home mortgage payments)
              Homeowner's or renter's . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             .   .   $           0.00
              Life . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    .   .   $           0.00
              Health . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      .   .   $           0.00
              Auto . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      .   .   $          70.00
              Other                                                                                                               ......        .   .   $           0.00
   Taxes (not deducted from wages or included in home mortgage payments)
              (Specify)          ad valorem                                                                                       ......        .. $               10.00
   Installment payments: (In chapter 12 and 13 cases, do not list payments to be included in the plan.)
              Auto . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      .   .   $           0.00
              Other                                                                                                               ......        .   .   $           0.00
              Other                                                                                                               ......        .   .   $           0.00
              Other                                                                                                               ......        .   .   $           0.00
   Alimony, maintenance, and support paid to others . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       .   .   $           0.00
   Payments for support of additional dependents not living at your home . . . . . . . . . . . . . . . . . . . .                                .   .   $           0.00
   Regular expenses from operation of business, profession, or farm (attach detailed statement) . . . . .                                       .   .   $           0.00
   Other         grooming                                                                                                         ......        .   .   $          30.00
   Other                                                                                                                          ......        .   .   $           0.00
   TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules) . . . . . . . . . . . . . . . . . . . .                                                 $        3,155.00

  [FOR CHAPTER 12 AND 13 DEBTORSONLY]
  Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some
  other regular interval.
   A. Total projected monthly income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $  3,405.00
   B. Total projected monthly expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $  3,155.00
   C. Excess income (A minus B) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $   250.00
   D. Total amount to be paid into plan each        Monthly                                             ....... $         250.00
                                                                     (interval)
                     Case 05-10740-whd                               Doc 1             Filed 03/01/05         Entered 03/01/05 08:10:16   Desc Main
                                                                        United States Bankruptcy
                                                                             Document     Page 22Court
                                                                                                  of 25
                                                                                Northern District of Georgia
  In re       Christopher Lee Hunter                                                                                      Case No.
                                                                                                  Debtor(s)               Chap ter   13




                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                 13 sheets [total shown on summary page plus 1] , and that they are true and correct to the best of my
              knowledge, information, and belief.




 Date March 1, 2005                                                                   Signature   /s/ Christopher Lee Hunter
                                                                                                  Christopher Lee Hunter
                                                                                                  Debtor

      Penalty for mak ing a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                       18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2003 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                   Best Case Bankruptcy
                     Case 05-10740-whd                               Doc 1             Filed 03/01/05         Entered 03/01/05 08:10:16             Desc Main
                                                                        United States Bankruptcy
                                                                             Document     Page 23Court
                                                                                                  of 25
                                                                                Northern District of Georgia
  In re       Christopher Lee Hunter                                                                                       Case No.
                                                                                                  Debtor(s)                Chap ter   13


                                DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.      Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
        be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
               For legal services, I have agreed to accept                                                             $               2,500.00
               Prior to the filing of this statement I have received                                                   $                   156.00
               Balance Due                                                                                             $               2,344.00

2.      $     194.00         of the filing fee has been paid.

3.      The source of the compensation paid to me was:

               n     Debtor             o Other (specify):

4.      The source of compensation to be paid to me is:

               n     Debtor             o Other (specify):

5.        n   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          o I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
              copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.      In return for the above-disclosed fee, I have agreed to render legal service for all asp ects of the bankruptcy case, including:
        a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
        b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
        c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
        d. [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

7.      By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
                any other adversary proceeding.
                                                                                             CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding. Pursuant to General Order No. 9, I certify that I provided to the debtor(s) a copy of the "Rights and Resp onsibilities
 Statement Between Chapter 13 Debtors and Their Attorneys."

 Dated:        March 1, 2005                                                                      /s/ Michael A. Gorove 302730
                                                                                                  Michael A. Gorove 302730
                                                                                                  Harmon & Gorove
                                                                                                  1 Jefferson Street
                                                                                                  Newnan, GA 30263
                                                                                                  770-253-5902 Fax: 770-253-4009




Software Copyright (c) 1996-2004 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                             Best Case Bankruptcy
                 Case 05-10740-whd                            Doc 1           Filed 03/01/05 Entered 03/01/05 08:10:16                   Desc Main
                                                                             Document      Page 24 of 25

          {
          k
          b
          }
          s
          e
          l
          u
          d
          h
          c
          S
          f
          o
          y
          r
          a
          m
          u
          S.
           6
           m
           r
           o
           F
           {
           1
           k
           b
           }




                                                                   United States Bankruptcy Court
                                                                            Northern District of Georgia
  In re          Christopher Lee Hunter                                                                               Case No.
                                                                                                            ,
                                                                                             Debtor
                                                                                                                      Chapter                  13




                                                                         SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets.
     Add the amounts from Schedules D, E, and F to determine the total amount of the debtor's liabilities.


                                                                                                                   AMOUNTS SCHEDULED

        NAME OF SCHEDULE                                   ATTACHED NO. OF                       ASSETS                LIABILITIES            OTHER
                                                            (YES/NO) SHEETS

A - Real Property                                                  Yes                1               155,000.00


B - Personal Property                                              Yes                3                 6,800.00


C - Property Claimed as Exempt                                     Yes                1


D - Creditors Holding Secured                                      Yes                1                                         150,000.00
      Claims
E - Creditors Holding Unsecured                                    Yes                1                                               0.00
      Priority Claims
F - Creditors Holding Unsecured                                    Yes                1                                            530.00
      Nonpriority Claims
G - Executory Contracts and                                        Yes                1
      Unexpired Leases

H - Codebtors                                                      Yes                1


I - Current Income of Individual                                   Yes                1                                                                 3,405.00
      Debtor(s)
J - Current Expenditures of                                        Yes                1                                                                 3,155.00
      Individual Debtor(s)

   Total Number of Sheets of ALL Schedules                                            12


                                                                              Total Assets            161,800.00


                                                                                               Total Liabilities                150,530.00




Copyright (c) 1996-2004 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                           Best Case Bankruptcy
     Case 05-10740-whd   Doc 1    Filed 03/01/05 Entered 03/01/05 08:10:16   Desc Main
                                 Document      Page 25 of 25

{
k
b
}
x
i
r
t
a
M
s
e
r
d
A
o
t
i
de
 r
 C
 {
 1
 k
 b
 }




                         McCalla, Raymer
                         Bankruptcy
                         1544 Old Alabama Road
                         Roswell, GA 30076


                         Newnan Hospital
                         P.O. box 997
                         Newnan, GA 30264


                         Papp Clinic
                         P.O. Box 609
                         Newnan, GA 30264


                         Regions Mortgage
                         6600 Peachtree Dunwoody Rd
                         400 Embassy Rd, Ste 210
                         Atlanta, GA 30328


                         Regions Mortgage
                         P.O. Box 669
                         Montgomery, AL 36110


                         Regions Mortgage
                         P.O. box 2153
                         Birmingham, AL 35287


                         Union Planters Mortgage
                         P.O. box 1860
                         Memphis, TN 38101-1860
